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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                                )    Civil Action No. 19-810 (RBW)
                                        )
UNITED STATES DEPARTMENT OF             )
JUSTICE,                                )
                                        )
                  Defendant.            )
_______________________________________)
                                        )
JASON LEOPOLD and                       )
BUZZFEED, INC.,                         )
                                        )
                  Plaintiffs,           )
                                        )
      v.                                )    Civil Action No. 19-957 (RBW)
                                        )
UNITED STATES DEPARTMENT OF             )
JUSTICE, et al.,                        )
                                        )
                  Defendants.           )
_______________________________________)


        Upon further consideration of the identical status reports filed by the plaintiffs in the

above-captioned cases, see generally Plaintiffs’ Status Report, Elec. Privacy Info. Ctr. v. U.S.

Dep’t of Justice, Civ. Action No. 19-810, ECF No. 103; Plaintiffs’ Status Report, Leopold v.

U.S. Dep’t of Justice, Civ. Action No. 19-957, ECF No. 27, it is hereby

        ORDERED that, at the December 18, 2019 status conference, the parties shall be

prepared to discuss, inter alia:
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      1. the content of the media communications order entered in United States v. Roger

         J. Stone, Jr., Crim. Action No. 19-18, a matter pending before another member of

         this Court, and whether the order is applicable to this case;

      2. which Freedom of Information Act (“FOIA”) exemptions asserted by the United

         States Department of Justice (the “Department”) are, according to the plaintiffs,

         purportedly mooted;

      3. the Department’s position regarding the purportedly-mooted FOIA exemptions;

      4. whether the Department intends to reprocess the report regarding Special Counsel

         Robert Mueller’s investigation into Russian interference in the 2016 United States

         presidential election (the “Mueller Report”) after the Stone sentencing on

         February 6, 2020; and

      5. if the Department takes the position that reprocessing of the Mueller Report is

         appropriate, whether it is appropriate to begin reprocessing of the Mueller Report

         prior to the Stone sentencing on February 6, 2020.

SO ORDERED this 17th day of December, 2019.


                                                       REGGIE B. WALTON
                                                       United States District Judge




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